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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

  UNITED STATES OF AMERICA,                       *
                                                  *
                 Plaintiff,                       *
                                                  *
         v.                                       *               SAG-21-385
                                                       CIVIL NO. _____________
                                                  *
  14 PIT BULL TYPE DOGS,                          *
                                                  *
                 Defendant.                       *
                                                  *
                                               *******

                              WARRANT FOR ARREST IN REM

TO:    THE MARSHAL OF THE UNITED STATES AND/OR ANY OTHER DULY
       AUTHORIZED LAW ENFORCEMENT OFFICER

                     2/16/21
       WHEREAS, on ______________________, the United States of America filed a verified

complaint for civil forfeiture in rem in the United States District Court for the District of Maryland

against the above-named Defendant Property, alleging that said Defendant Property is subject to

seizure and civil forfeiture to the United States for the reasons mentioned in the complaint; and

       WHEREAS, the Defendant Property is currently in the possession, custody, or control of

the United States; and

       WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the arrest of the Defendant Property; and

       WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it;

       NOW THEREFORE you are hereby commanded to arrest the above-named Defendant

Property by serving a copy of this warrant on the custodian in whose possession, custody or control
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the Defendant Property is presently found, and to use whatever means may be appropriate to

protect and maintain the Defendant Property in your custody until further order of this Court.

       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.


        2/17/21
Date: ______________________



                                                    Clerk of the Court
                                                    United States District Court


                                             By:    _______________________
                                                    Deputy Clerk




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